                           UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                Case No.: 5:20-CR-418-D



UNITED STATES OF AMERICA              )
                                      )
              vs.                     )
                                      )                     ORDER TO SEAL
                                      )
KATHRYN SMITH WORLEY,                 )
                 Defendant            )


       Upon motion of the court appointed counsel, Myron T. Hill, Jr., for the above referenced

defendant, it is hereby ORDERED that Docket Number 70 be sealed until such time as requested to

be unsealed by Defense Counsel.



       This the ft.day of Jca..r.\J ~     , 2021.




                                                    Th~onorable James C. Dever III
                                                    United States District Court Judge




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